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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

KEITH SETH, et al                  :
                                          :
                Plaintiffs                :
                                          :
       v.                                 :      Case No. 8:20-cv-01028-PX
                                          :
MARY LOU MCDONOUGH                        :
                                          :
                Defendant                 :
                                          :

         MOTION TO WITHDRAW PURSUANT TO LOCAL RULE 101.2(b)

       Ann E. Koshy, Esquire, counsel for Defendant Mary Lou McDonough, respectfully

requests leave of the court to withdraw as counsel for Defendant in this matter. Defendants

will continue to be represented by other counsel of record, including Shelley Johnson and

Andrew Murray from the PRINCE GEORGE’S COUNTY OFFICE OF LAW.

       WHEREFORE, undersigned counsel respectfully requests that the Court grant her

leave to withdraw as counsel for the Defendant in this matter.


                                   Respectfully submitted,
                                   RHONDA L. WEAVER
                                   COUNTY ATTORNEY

                                   ANDREW J. MURRAY
                                   DEPUTY COUNTY ATTORNEY

                                   ______________/s/________________
                                   Ann E. Koshy, Fed. Bar No. 19333
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Filed: 2/18/2021
